              Case 24-13938-MAM         Doc 72-2     Filed 06/20/24     Page 1 of 3




                               UNITED STATES BANKRUPTCY
                              COURT SOUTHERN DISTRICT OF
                                        FLORIDA
                                   www.flsb.uscourts.gov


In re:                                                        Chapter 11
TGP COMMUNICATIONS, LLC                                       Case No. 24-13938-MAM
Debtor.
                                          /


                        DECLARATION OF



         1.    I,                         , am over the age of 18 and make this Declaration in

support of Debtor and Debtor in Possession TGP Communications, LLC’s (“Debtor”) Motion to

Suppress Personally Identifiable Information for Certain Individual Creditors (ECF No. 26).

         2.    I make this Declaration based on personal knowledge.

         3.    I am currently a writer/contractor for Debtor. I have been writing for Debtor since

2022. I am also an individual creditor for Debtor in the instant bankruptcy.

         4.    Because of my writing for Debtor and/or other similar online publications, I have

received concerning negative emails from members of the public.

         5.    Because of the hateful emails I have received, I have written and currently write

articles under a pseudonym.

         6.    Although I am a creditor, I do not want my personally identifiable information,

including, but not limited to my legal name, email address, phone number, and home address

released to the public in Debtor’s bankruptcy.




                                                                                                1
             Case 24-13938-MAM          Doc 72-2      Filed 06/20/24     Page 2 of 3




       7.      Specifically, I am in fear for my life and safety: I strongly believe that were my

personally identifiable information made readily available to the public, I would be placed in great

physical danger and so would my wife.

       8.      I have reason to believe this because several of my colleagues have received life-

threatening communications.

       9.      Because of this, I ask the Bankruptcy Court to keep and preserve my personally

identifiable information, including but not limited to my name, email address, phone number, and

home address sealed and unavailable to the public. At the same time, I understand that parties in

interest to these bankruptcy proceedings have a right to contact me, and I do not object to the

parties in interest (or the Court) having knowledge of and access to my personally identifiable

information as stated above so that they may contact me to the extent they have a right to do so as

part of TGP’s bankruptcy.

       Further, affiant sayeth not.




             THE REMAINDER OF THIS PAGE IS INTENTIONALLY BLANK




       I declare under penalty of perjury that the foregoing is true and correct.




                                                                                                  2
          Case 24-13938-MAM   Doc 72-2   Filed 06/20/24   Page 3 of 3




Executed On: June 17, 2024           Signature:

                                     NAME:




                                                                        3
